Case 1:22-cv-10904-JSR Document 226-24 Filed 07/24/23 Page 1 of 6




                     EXHIBIT 23
     Case 1:22-cv-10904-JSR Document 226-24 Filed 07/24/23 Page 2 of 6




1                 IN THE UNITED STATES DISTRICT COURT

2                FOR THE SOUTHERN DISTRICT OF NEW YORK

3      GOVERNMENT OF THE
       VIRGIN ISLANDS,
4
                         Plaintiff,
5
       v.                                     No. 22-cv-10904-JSR
6
       JP MORGAN CHASE BANK, N.A.,
7
                      Defendant.
8      ________________________________
       JPMORGAN CHASE BANK, N.A.,
9

10                  Third-Party Plaintiff,

11     v.

12     JAMES EDWARD STALEY,
       Third-Party Defendant.
13     __________________________________

14

15                THE ORAL DEPOSITION OF JOHN P. DE JONGH, JR.

16     was taken on the 30th day of May, 2023 at the Law

17     Offices of JOEL HOLT, 2132 Company Street,

18     Christiansted, St. Croix U.S. Virgin Islands, between

19     the hours of 9:02 a.m. and 4:46 p.m. pursuant to Notice

20     and Federal Rules of Civil Procedure.

21                        ____________________
                              Reported by:
22
                            DESIREE D. HILL
23                     Registered Merit Reporter
                       Hill's Reporting Services
24                          P.O. Box 307501
                      St. Thomas, Virgin Islands
25                           (340) 777-6466
     Case 1:22-cv-10904-JSR Document 226-24 Filed 07/24/23 Page 3 of 6

                  JOHN P. D JONGH, JR. -- DIRECT                         30


1            A.     The public newspaper accounts, yes.

2            Q.     Of Jeffrey Epstein?

3            A.     Yes.

4            Q.     And that public reporting put you on notice

5      of the allegations surrounding his sex abuse?

6                   MR. TEAGUE:     Objection, form.

7                   MS. BOGGS:    Vague.

8            Q.     (By Mr. O'Laughlin:) You can answer.

9            A.     Those notifications put me -- educated me

10     to what he was accused of doing when he got convicted

11     in '8 or '9.

12           Q.     In 2008 and 2009?

13           A.     Right.

14           Q.     So as of those dates, you knew the

15     accusations against Epstein?

16                  MS. BOGGS:    Objection, vague.

17                  MR. TEAGUE:     Objection, vague.

18           Q.     (By Mr. O'Laughlin:) And did you -- you

19     were the governor at the time, correct?

20           A.     Yes.

21           Q.     Did you request an investigation of

22     Epstein?

23           A.     As governor?

24           Q.     Yes.

25           A.     No.
     Case 1:22-cv-10904-JSR Document 226-24 Filed 07/24/23 Page 4 of 6

                  JOHN P. D JONGH, JR. -- DIRECT                         31


1            Q.     Did you contact USVI DOJ about Epstein?

2            A.     No.

3            Q.     Did you contact Florida police about

4      Epstein?

5            A.     No.

6            Q.     Did you contact Florida law enforcement?

7            A.     No.

8            Q.     Did you contact New York law enforcement?

9            A.     As governor?     No.

10           Q.     Did you contact the FBI?

11           A.     No.

12           Q.     Did you direct anyone on your staff to do

13     any kind of investigation into Epstein?

14           A.     I would not do that.

15           Q.     Why not?

16           A.     My assumption will be that the Department

17     of Justice, any of the entities dealing with Jeffrey

18     Epstein would have done that.

19           Q.     Do you appoint the attorney general?

20           A.     Appoint with advice and consent of the

21     legislature, yes.

22           Q.     Are you in frequent communication with the

23     attorney general of the USVI?

24                  MS. BOGGS:    Objection, vague, time

25           period.
     Case 1:22-cv-10904-JSR Document 226-24 Filed 07/24/23 Page 5 of 6

                  JOHN P. D JONGH, JR. -- DIRECT                         32


1                   MR. TEAGUE:     Same objection.

2                   THE WITNESS:     When you say

3            "frequent," what do you mean.

4            Q.     (By Mr. O'Laughlin:) How frequent was your

5      communication with the attorney general of the USVI

6      while governor?

7            A.     Whenever issues came up, they bring it to

8      my attention.

9            Q.     How often would issues come up, do you

10     estimate?

11           A.     I can't.    I had more contact with other

12     commissioners on a day-to-day basis than with the AG.

13           Q.     Would you talk to the AG once a week?

14           A.     Sometimes.    Sometimes I go two weeks

15     without talking to him.       So it wasn't frequent.

16     That's why I meant, What do you mean by frequent?

17           Q.     Well, I'm asking you, how frequent?         I am

18     asking you maybe once a day, once a week, once a

19     month, four times a month?

20                  MR. TEAGUE:     Same objection.     You

21           can answer.

22                  THE WITNESS:     Again, the frequency

23           I couldn't tell you.      Sometimes I would

24           talk to him a couple times a month.

25           Sometimes I would not talk to him.
     Case 1:22-cv-10904-JSR Document 226-24 Filed 07/24/23 Page 6 of 6

                  JOHN P. D JONGH, JR. -- DIRECT                         33


1            Q.     (By Mr. O'Laughlin:) But if there was an

2      issue that required attention from the attorney

3      general, you would engage with the attorney general?

4            A.     Yes.   Definitely.

5            Q.     And when there was an issue, you would

6      engage frequently, several times?

7                   MR. TEAGUE:     Objection, form.

8                   THE WITNESS:     Again, maybe.

9            Depending on the issue.

10           Q.     (By Mr. O'Laughlin:) And at no point did

11     you ever request that the attorney general look into

12     Jeffrey Epstein, correct?

13                  MS. BOGGS:    Objection, vague.

14                  THE WITNESS:     That I would -- that

15           I initiate an investigation of Jeffrey

16           Epstein?    No.

17           Q.     (By Mr. O'Laughlin:) Did you make any

18     requests at any time to the attorney general to look

19     into Jeffrey Epstein?

20                  MS. BOGGS:    Objection, vague.

21                  THE WITNESS:     No.

22                  MR. TEAGUE:     Objection, form.

23           Q.     (By Mr. O'Laughlin:) You mentioned that

24     your wife worked for Jeffrey Epstein.         Did she know

25     him closely?
